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                                        3

Re: Youngblood - Deposition of Roger Richards

       Me <valerie@yanaroslaw.com>
        Fri, 18 Nov 2022 3:59:11 PM -0600 •

   To "Lenden Webb" <LWebb@webblawgroup.com>

   Cc "admin"     admin@yanaro law.com , "Raza Khan" RKhan@webblawgroup.com , "Chri tian Clark"
       <CClark@webblawgroup.com>

Counsel:

Your firm drafted the motion that was filed and rejected by the court due to errors. The extension is one
necessitated by YOUR client’s refusal to comply with our subpoena. If we need to bring this to the court’s attention
we will. Otherwise we look forward to receiving the draft so we can review thoroughly before filing so as to avoid
any further mistakes. By the way, we still haven’t received Mr. Richards’ doctor’s note.

Let me know if you would like to have a call to discuss.

Valerie Yanaros, Esq.
Yanaros Law, P.C.
8300 Douglas Avenue Suite 800
Dallas, Texas 75225
Telephone: (512) 826-7553

*Please note new address.

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---- On Fri, 18 Nov 2022 13:59:50 -0600 Lenden Webb<LWebb@webblawgroup.com> wrote ----


 You are free to draft, but we will not be drafting.



 Lenden F. Webb
 www.WebbLawGroup.com
 (please excuse the iPhone typos)

 On Nov 18, 2022, at 11:47 AM, yanaroslaw <valerie@yanaroslaw.com> wrote:


 Mr. Webb:

 We can do any dates of the following week.

 Our amended motion for extension should reflect a 60-day request for extension given the timing. Can we
 expect a draft of the same today?

 I will send an updated notice of deposition as soon as your office confirms the date for Mr. Richards'
 deposition.

 Valerie Yanaros, Esq.
 Yanaros Law, P.C.
 8300 Douglas Avenue Suite 800
 Dallas, Texas 75225
 Telephone: (512) 826-7553
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---- On Wed, 09 Nov 2022 21:24:01 -0600 Lenden Webb <LWebb@webblawgroup.com> wrote ---

Ms. Yanaros,

Since you are rejecting our proposal, I welcome you to send dates you propose for our client’s
consideration so we can get this back on calendar.


Sincerely,

Lenden F. Webb
WEBB LAW GROUP, APC
San Diego Office
10509 Vista Sorrento Parkway, Suite 450
San Diego, CA 92121

Fresno Office
466 W. Fallbrook Avenue, Suite 102
Fresno, CA 93711

Phone: (619) 399-7700
Phone: (559) 431-4888
Fax:   (619) 819-8400
Email: LWebb@WebbLawGroup.com
Website: www.WebbLawGroup.com

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From: yanaroslaw <valerie@yanaroslaw.com>
Date: Wednesday, November 9, 2022 at 7:16 AM
To: Christian Clark <CClark@webblawgroup.com>
Cc: admin <admin@yanaroslaw.com>, LFW Work <LWebb@webblawgroup.com>, Raza
Khan <RKhan@webblawgroup.com>
Subject: Re: Youngblood - Deposition of Roger Richards

Counsel:

We are not. Please provide additional dates. Thanks.

Valerie Yanaros, Esq.
Yanaros Law, P.C.
8300 Douglas Avenue Suite 800
Dallas, Texas 75225
Telephone: (512) 826-7553

*Please note new address.

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---- On Fri, 28 Oct 2022 11:32:13 -0500 Christian Clark<CClark@webblawgroup.com> wrote ----

 Good morning Ms. Yanaros,

 I understand that Mr. Richards is available for a deposition on December 2, 2022. Our office has
 a hard stop on that day at 3:00PM (PST), but we are amenable to starting at 6:30AM (PST) to
 ensure that we have sufficient time.

 Please advise if this is agreeable and our office will calendar accordingly.
 Sincerely,

 Christian B. Clark, Esq.
 WEBB LAW GROUP, APC
 San Diego Office
 10509 Vista Sorrento Parkway, Suite 450
 San Diego, CA 92121

 Fresno Office
 466 W. Fallbrook Avenue, Suite 102
 Fresno, CA 93711

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 Direct: (858) 258-9313
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